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                            UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF OHIO
                           EASTERN DISTRICT AT CINCINNATI

 ROBERT GAMBRELL, on behalf of himself :
 and others similarly situated,        :
                                       :
                Plaintiff,             :                 CASE NO. 1:20-cv-801
                                       :
        vs.                            :                 JUDGE
                                       :
 RUMPKE WASTE, INC. DBA RUMPKE         :                 MAGISTRATE JUDGE
 WASTE COLLECTION & DISPOSAL           :
 SYSTEMS                               :
 c/o James E. Thaxton                  :
 10795 Hughes Rd.                      :
 Cincinnati, OH 45251                  :
                                       :
                Defendant.             :

PLAINTIFF’S COLLECTIVE AND CLASS ACTION COMPLAINT FOR VIOLATIONS
          OF THE FAIR LABOR STANDARDS ACT AND OHIO LAW

       Plaintiff Robert Gambrell (“Named Plaintiff” or “Plaintiff” or “Gambrell), individually and

on behalf of others similarly situated, files his Complaint against Defendant Waste, Inc. dba

Rumpke Waste Collection & Disposal Systems (“Defendant” or “Rumpke”), for Defendant’s

failure to pay employees overtime wages, seeking all available relief under the Fair Labor

Standards Act of 1938 (“FLSA”), 29 U.S.C. §§ 201, et seq.; the Ohio Minimum Fair Wage

Standards Act, O.R.C. 4111.03 and 4111.08 (“the Ohio Wage Act”); and the Ohio Prompt Pay Act

(“OPPA”), Ohio Rev. Code § 4113.15 (the Ohio Wage Act and the OPPA will be referred to

collectively as “the Ohio Acts”). The FLSA claim is brought as a collective action pursuant to 29

U.S.C. § 216(b). The Ohio Acts claims are brought as a class action pursuant to Rule 23. The

following allegations are based on personal knowledge as to the Named Plaintiff’s own conduct

and are made on information and belief as to the acts of others. Named Plaintiff, individually and

on behalf of others similarly situated, hereby states as follows:
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       I.      JURISDICTION AND VENUE

       1.      This action is brought pursuant to the FLSA, the Ohio Acts, and 28 U.S.C. §1331.

       2.      This Court’s jurisdiction in this matter is also predicated upon 28 U.S.C. §1367 as

this Complaint raises additional claims pursuant to the laws of Ohio, over which this Court

maintains supplemental subject matter jurisdiction because they form a part of the same case or

controversy.

       3.      Venue is proper in this forum pursuant to 28 U.S.C. §1391, because Defendant

employed Named Plaintiff and others similarly situated in the Southern District of Ohio, a

substantial part of the events or omissions giving rise to the claim occurred in the Southern District

of Ohio, and Defendant’s principal place of business is located in the Southern District of Ohio.

       II.     PARTIES

       A. Named Plaintiff

       4.      Named Plaintiff is an individual, United States citizen, and a resident of the State

of Ohio living in the Southern District of Ohio.

       5.      Named Plaintiff was employed by Defendant beginning in 2015 until August 2020.

       6.      Named Plaintiff was employed as an hourly, non-exempt employee of Defendant

as defined in the FLSA and the Ohio Acts. Specifically, Named Plaintiff was employed as an

hourly welder at one of Defendant’s facilities. At all times during his employment, Named

Plaintiff worked forty (40) or more hours per workweek in given workweeks.

       7.      During Named Plaintiff’s employment with Defendant, Defendant routinely

deducted 30 minutes from Named Plaintiff’s daily hours worked for a meal break that Named

Plaintiff did not take at all, or that was interrupted by having to perform work duties. This resulted

in Named Plaintiff not being fully and properly paid for all of his hours worked in violation of the

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FLSA and the Ohio Acts. Likewise, Defendant routinely deducted time from other similarly

situated employees’ daily hours worked for meal breaks that those employees did not take or that

were interrupted by work. These similarly situated employees worked 40 or more hours per

workweek in given workweeks. This resulted in the similarly situated employees not being paid

for all of their hours worked in violation of the FLSA and the Ohio Acts.

           8.      Named Plaintiff brings this action on behalf of himself and those similarly situated

and has given his written consent to bring this action to collect unpaid overtime compensation

under the FLSA. Named Plaintiff’s consent is being filed along with this Complaint pursuant to

29 U.S.C. §216(b). (Consent to be Party Plaintiff, attached hereto as Exhibit A).

           B. Defendant

           9.      Defendant is a corporation for profit that operates and conducts substantial business

activities throughout Ohio, including in the Southern District of Ohio, and throughout the Midwest.

Defendant is one of the largest waste and recycling companies in the United States and provides

residential and commercial trash and recycling services to its customers in Ohio, Kentucky,

Indiana, and West Virginia.1

           10.     At all relevant times, Defendant has had direct or indirect control and authority over

Named Plaintiff and other similarly situated welders’ working conditions. At all relevant times,

Defendant exercised that authority and control over Named Plaintiff and other similarly situated

employees.

           11.     At all relevant times, Defendant has had direct or indirect control and authority over

matters governing the essential terms and conditions of employment for Named Plaintiff and other




1
    See https://www.rumpke.com/ (last viewed on 10/8/20).

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similarly situated welders at Defendant’s facilities where Named Plaintiff and other similarly

situated welders worked. At all relevant times, Defendant exercised that authority and control over

Named Plaintiff and other similarly situated welders.

       12.     At all relevant times, Defendant has had the authority to hire and fire employees,

supervise and control the work schedules and work conditions of welders, determine the rate and

method of pay, and/or maintain employee records.

   13. Upon information and belief, Defendant applies or causes to be applied substantially the

same employment policies, practices, and procedures to all welders at all of its locations, including

policies, practices and procedures relating to the payment of wages, overtime, and timekeeping.

       14.     At all relevant times, Defendant suffered or permitted Named Plaintiff and other

similarly situated welders to work. The work that Named Plaintiff and other similarly situated

welders performed was for Defendant’s benefit.

       15.     Defendant operates as an “employer” as defined in the FLSA and the Ohio Acts.

Defendant is a single employer, integrated enterprise, and/or a joint employer of Named Plaintiff

and all other similarly situated welders.

       16.     At all times relevant, Defendant was an employer of Named Plaintiff and other

similarly situated hourly welders.

       17.     Defendant operates and controls and enterprises and employs employees engaged

in commerce or in the production of goods for commerce, or has had employees handling, selling,

or otherwise working on goods or materials that have been moved in or produced for commerce

by any person; and Defendant has had an annual gross volume of sales made or business done of

not less than $500,000 per year (exclusive of excise taxes at the retail level).




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        18.     At all times relevant hereto, Defendant was fully aware of the fact that it was legally

required to comply with the wage and overtime laws of the United States and of the State of Ohio.

        III.    FACTS

        19.     Named Plaintiff and Defendant’s other hourly welders are non-exempt employees

that are entitled to overtime. Named Plaintiff and Defendant’s other hourly welders job duties

consist of welding and repairing Defendant’s containers.

        20.     Defendant has a companywide policy and/or practice of requiring a 30-minute

deduction from its hourly, non-exempt welders’ daily hours worked for meal breaks that were not

taken at all, or that were not fully interrupted.

        21.     At times, Named Plaintiff and Defendant’s other hourly welders clock out for a

meal break, but their break is interrupted by job duties. Named Plaintiff and Defendant’s other

hourly welders are not compensated for their meal break even if it is interrupted by work.

        22.     When Named Plaintiff and Defendant’s other hourly welders do not clock out for a

meal break, Defendant carries out its companywide policy and/or practice by directing its

managers to manually deduct 30 minutes of time from its hourly, non-exempt welders’ daily work

hours for meal breaks even when Defendant’s welders, including Named Plaintiff and other

similarly situated welders, do not take a meal break.

        23.     Named Plaintiff and other similarly situated welders regularly worked more than

40 hours per workweek, or they would have worked more than 40 hours per workweek if their

hours were not reduced by the applied meal deduction, but they were not paid one and one-half

times their regular rate of pay for all of hours worked over 40 as a result of Defendant’s unlawful

deduction of 30 minutes for meal breaks that were not taken or that were interrupted.




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       24.      Defendant’s failure to compensate Named Plaintiff and other similarly situated

welders as set forth above resulted in unpaid overtime.

       25.      At all times relevant herein, Named Plaintiff and other similarly situated welders

were employees as defined in the FLSA, the Ohio Acts, and Ohio Constitution Art. 2 §34a.

       26.      During relevant times, Defendant suffered or permitted Named Plaintiff and those

similarly situated welders to work more than forty (40) hours per workweek, while not

compensating them for all such hours worked over forty (40) at a rate of at least one and one-half

times their regular rate of pay as a result of Defendant’s company-wide policies and/or practices

described above that affect Named Plaintiff and all other similarly situated employees.

       27.      Defendant had actual or constructive knowledge that it was not compensating

Named Plaintiff and other similarly situated welders for all hours worked. Defendant acted

willfully regarding its conduct described herein.

       28.      Defendant is in possession and control of necessary documents and information

from which Named Plaintiff would be able to calculate damages and/or it otherwise failed to keep

such records.

       IV.      FLSA COLLECTIVE ALLEGATIONS

       29.      Named Plaintiff brings his FLSA claims pursuant to 29 U.S.C. §216(b) as a

representative action on behalf of himself and all other similarly situated employees of the opt-in

class. The FLSA collective consists of the following:

                   All current and former hourly, non-exempt welders of
                   Defendant who worked over 40 hours in any workweek during
                   the three years prior to the filing of this Complaint and
                   continuing through the final disposition of this case (“FLSA
                   Collective” or “FLSA Collective Members”).




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       30.     Named Plaintiff and putative FLSA Collective Members were all subject to the

same policies or practices described above which resulted in unpaid overtime.

       31.     During some or all of the last three years, Defendant did not compensate Named

Plaintiff and the putative FLSA Collective Members for time spent performing substantial duties

for Defendant’s benefit.

       V.      RULE 23 ALLEGATIONS

       32.     Named Plaintiff brings his Ohio Wage Act claims pursuant to Fed. R. Civ. P. 23 as

a class action on behalf of himself and all other members of the following class:

               All Ohio current and former hourly, non-exempt welders of
               Defendant who worked over 40 hours in any workweek during the
               two years prior to the filing of this Complaint and continuing
               through the final disposition of this case (“Ohio Rule 23 Class” or
               “Ohio Rule 23 Class Members”).

       33.     The Ohio Rule 23 Class includes all current or former hourly, non-exempt welders

employed by Defendant throughout the State of Ohio as defined above.

       34.     The Ohio Rule 23 Class, as defined above, is so numerous that joinder of all

members is impracticable.

       35.     Named Plaintiff is a member of the Ohio Rule 23 Class and his claim for unpaid

wages is typical of the claims of other members of the Rule 23 Class.

       36.     Named Plaintiff will fairly and adequately represent the Rule 23 Class and the

interests of all members of the Rule 23 Class.

       37.     Named Plaintiff has no interests that are antagonistic to or in conflict with those

interests of the Rule 23 Class that he has undertaken to represent.

       38.     Named Plaintiff has retained competent and experienced class action counsel who

can ably represent the interests of the entire Ohio Rule 23 Class.

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         39.    Questions of law and fact are common to the Ohio Rule 23 Class.

         40.    Class certification is appropriate under Fed. R. Civ. P. 23(b)(1) because individual

actions would create the risk of inconsistent or varying adjudications that would establish

incompatible standards of conduct for Defendant with respect to its non-exempt employees.

         41.    Class certification is appropriate under Fed. R. Civ. P. 23(b)(2) as Defendant acted

or refused to act on grounds generally applicable to the Ohio Rule 23 Class, making appropriate

declaratory and injunctive relief with respect to Named Plaintiff and the Ohio Rule 23 Class as a

whole.

         42.    Class certification is appropriate under Fed. R. Civ. P. 23(b)(3) as the questions of

law and facts common to the Ohio Rule 23 Class predominate over questions affecting individual

members of the Ohio Rule 23 Class and because a class action is superior to other available

methods for the fair and efficient adjudication of this litigation.

         43.    Questions of law and fact that are common to the Ohio Rule 23 Class include, but

are not limited to: (a) whether Defendant violated the Ohio Wage Act by failing to pay the Ohio

Rule 23 Class for hours worked in excess of forty hours per workweek because of the meal break

deductions; (b) whether Defendant kept accurate records of the amount of time the Ohio Rule 23

Class was working each day; (c) whether Defendant’s violations of the Ohio Wage Act were

knowing and willful; (d) what amount of unpaid and/or withheld compensation, including overtime

compensation, is due to Named Plaintiff and other members of the Ohio Rule 23 Class on account

of Defendant’s violations of the Ohio Acts; and (e) what amount of prejudgment interest is due to

Ohio Rule 23 Class members on the overtime or other compensation which was withheld or not

paid to them.




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        44.     A class action is superior to individual actions for the fair and efficient adjudication

of Named Plaintiff’s claims and will prevent undue financial, administrative and procedural

burdens on the parties and the Court. Named Plaintiff and counsel are not aware of any pending

Ohio litigation on behalf of the Ohio Rule 23 Class, as defined herein, or on behalf of any

individual alleging a similar claim. Because the damages sustained by individual members are

modest compared to the costs of individual litigation, it would be impractical for class members

to pursue individual litigation against the Defendant to vindicate its rights. Certification of this

case as a class action will enable the issues to be adjudicated for all class members with the

efficiencies of class litigation.

        VI.     CAUSES OF ACTION

                            FIRST CAUSE OF ACTION:
                FLSA – COLLECTIVE ACTION FOR UNPAID OVERTIME

        45.     All of the preceding paragraphs are realleged as if fully rewritten herein.

        46.     This claim is brought as part of a collective action by Named Plaintiff on behalf of

himself and the FLSA Collective.

        47.     The FLSA requires that employees receive overtime compensation for hours

worked in excess of forty (40) per week. 29 U.S.C. § 207(a)(1).

        48.     During the three years preceding the filing of this Complaint, Defendant employed

the Named Plaintiff and the FLSA Collective Members.

        49.     Named Plaintiff and the FLSA Collective Members were paid on an hourly basis

and worked in non-exempt positions.

        50.     Named Plaintiff and the FLSA Collective Members regularly worked in excess of

40 hours in workweeks.



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       51.    Defendant violated the FLSA with respect to Named Plaintiff and the FLSA

Collective Members by, inter alia, failing to pay overtime for all hours worked over forty (40)

hours in a workweek because of Defendant’s companywide policy and/or practice of deducting 30

minutes from its hourly non-exempt welders’ daily hours worked for meal breaks that were not

taken or meal breaks that were otherwise interrupted by work duties.

       52.    Named Plaintiff and the FLSA Collective Members were not exempt from

receiving FLSA overtime benefits.

       53.    Defendant knew or should have known of the overtime payment requirements of

the FLSA. Despite such knowledge, Defendant willfully withheld and failed to pay the overtime

compensation to which Named Plaintiff and the FLSA Collective Members are entitled.

       54.    The exact total amount of compensation, including overtime compensation, that

Defendant has failed to pay Named Plaintiff and the FLSA Collective Members is unknown at this

time, as many of the records necessary to make such precise calculations are in the possession of

Defendant or were not kept by Defendant.

       55.    As a direct and proximate result of Defendant’s conduct, Named Plaintiff and the

FLSA Collective Members have suffered and continue to suffer damages. Named Plaintiff seeks

unpaid overtime and other compensation, liquidated damages, interest and attorneys’ fees, and all

other remedies available, on behalf of himself and the FLSA Collective Members.

                          SECOND CAUSE OF ACTION:
         R.C. 4111.03 — RULE 23 CLASS ACTION FOR UNPAID OVERTIME

       56.    All of the preceding paragraphs are realleged as if fully rewritten herein.

       57.    This claim is brought under Ohio Law.

       58.    Named Plaintiff and the Ohio Rule 23 Class Members have been employed by

Defendant, and Defendant is an employer covered by the overtime requirements under Ohio Law.
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       59.     The Ohio Wage Act requires that employees receive overtime compensation “not

less than one and one-half times” (1.5) the employee’s regular rate of pay for all hours worked

over forty (40) in one workweek, “in the manner and methods provided in and subject to the

exemptions of section 7 and section 13 of the Fair Labor Standards Act of 1937.” See O.R.C.

§ 4111.03(A); see also 29 U.S.C. § 207(a)(1).

       60.     Named Plaintiff and the Ohio Rule 23 Class Members worked in excess of the

maximum weekly hours permitted under O.R.C. § 4111.03, but were not paid overtime wages for

all of such time spent working.

       61.     Defendant’s companywide policy and/or practice of deducting 30 minutes from its

hourly non-exempt welders’ daily hours worked for meal breaks that were not taken or meal breaks

that were otherwise interrupted by work duties impermissibly reduced Named Plaintiff’s and Rule

23 Class Members' compensable hours worked and resulted in unpaid overtime.

       62.     Named Plaintiff and the Ohio Rule 23 Class Members were not exempt from the

wage protections of the Ohio Wage Act.

       63.     Defendant’s repeated and knowing failures to pay overtime wages to Named

Plaintiff and the Ohio Rule 23 Class members were violations of R.C. §4111.03, and as such,

Defendant willfully withheld and failed to pay the overtime compensation to which Named

Plaintiff and the Ohio Rule 23 Class Members were entitled.

       64.     For Defendant’s violations of R.C. §4111.03, by which Named Plaintiff and the

Ohio Rule 23 Class Members have suffered and continue to suffer damages. Named Plaintiff seeks

unpaid overtime and other compensation, liquidated damages, interest and attorneys’ fees, and all

other remedies available, on behalf of himself and the Rule 23 Class Members.




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                              THIRD CAUSE OF ACTION:
             R.C. 4113.15 — RULE 23 CLASS ACTION FOR OPPA VIOLATION

       65.     All of the preceding paragraphs are realleged as if fully rewritten herein.

       66.     Named Plaintiff and the Ohio Rule 23 Class Members were employed by

Defendant.

       67.     During all relevant times, Defendant was an entity covered by the OPPA and Named

Plaintiff and the Ohio Rule 23 Class Members have been employed by Defendant within the

meaning of the OPPA.

       68.     The OPPA requires Defendant to timely pay Named Plaintiff and the Ohio Rule

23 Class Members all wages, including unpaid overtime, in accordance with O.R.C. § 4113.15(A).

       69.     During relevant times, Named Plaintiff and the Ohio Rule 23 Class Members were

not paid all wages, including overtime wages at one and one-half times their regular rate of pay

within thirty (30) days of performing the work. See O.R.C. § 4113.15(B).

       70.     Named Plaintiff and the Ohio Rule 23 Class Members unpaid wages remain unpaid

for more than thirty (30) days beyond their regularly scheduled payday.

       71.     In violating the OPPA, Defendant acted willfully, without a good faith basis, and

with reckless disregard of clearly applicable Ohio law.

                    FOURTH CAUSE OF ACTION:
         RECORDKEEPING VIOLATIONS OF THE OHIO WAGE ACT

       72.     All of the preceding paragraphs are realleged as if fully rewritten herein.

       73.     The Ohio Wage Act requires employers to maintain and preserve payroll or

other records containing, among other things, the hours worked each workday and the total

hours worked each workweek. See O.R.C. § 4111.08. See also, 29 C.F.R. §§ 516.2 et seq.




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       74.     During times material to this complaint, Defendant was a covered employer, and

required to comply with the Ohio Wage Act’s mandates.

       75.     Named Plaintiff and the Ohio Rule 23 Class Members were covered employees

entitled to the protection of the Ohio Wage Act.

       76.     During times material to this complaint, Defendant violated the Ohio Wage Act

with respect to Named Plaintiff and the Ohio Rule 23 Class Members by failing to properly

maintain accurate records of all hours Named Plaintiff and the Rule 23 Class Members worked

each workday and within each workweek.

       77.     In violating the Ohio Wage Act, Defendant acted willfully and with reckless

disregard of clearly applicable Ohio Wage Act provisions.

       VII.    PRAYER FOR RELIEF

       WHEREFORE, Named Plaintiff requests judgment against Defendant for an Order:

       A.      Certifying the proposed FLSA collective action;

       B.      Directing prompt issuance of notice pursuant to 29 U.S.C. § 216(b) to the FLSA

Collective apprising them of the pendency of this action, and permitting them to timely assert their

rights under the FLSA and pursuant to 29 U.S.C. § 216(b);

       C.      Certifying the proposed Rule 23 Class under the Ohio Acts;

       D.      Finding Defendant failed to keep accurate records in accordance with the Ohio

Wage Act, and as such, Named Plaintiff, the FLSA Collective Members, and the Ohio Rule 23

Class Members are entitled to prove their hours worked with reasonable estimates;

       E.      Awarding to Named Plaintiff and the FLSA Collective Members unpaid

compensation, including overtime wages as to be determined at trial together with any liquidated

damages allowed by the FLSA;

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       F.      Awarding to Named Plaintiff and the Ohio Rule 23 Class Members unpaid

compensation, including overtime wages as to be determined at trial together with any liquidated

damages allowed by the Ohio Wage Act;

       G.      Awarding judgment against Defendant for liquidated damages pursuant to the

OPPA in the greater amount of $200 per violation or six percent (6%) of all unpaid overtime

compensation owed to the Named Plaintiff and the Ohio Rule 23 Class Members during the

applicable statutory period;

       H.      Awarding Named Plaintiff, the FLSA Collective Members, and the Ohio Rule 23

Class Members costs and disbursements and reasonable allowances for fees of counsel and experts,

and reimbursement of expenses;

       I.      Awarding Named Plaintiff, the FLSA Collective Members, and the Ohio Rule 23

Class Members such other and further relief as the Court deems just and proper;

       J.      Issuing an injunction prohibiting Defendant from engaging in present, ongoing and

future violations of the FLSA and the Ohio Wage Act;

       K.      Granting Named Plaintiff leave to amend to file additional claims for relief or

different causes of action should information become available through investigation and

discovery;

       L.      Rendering a judgment against Defendant for all damage, relief, or any other

recovery whatsoever;

       M.      An Order directing Defendant to pay reasonable attorney’s fees and all costs

connected with this action; and

       N.      Such other and further relief as to this Court may deem necessary, just and proper.




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                                          Respectfully submitted,

                                          COFFMAN LEGAL, LLC

                                          /s/ Matthew J.P. Coffman
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                                          Attorneys for Named Plaintiff and those similarly
                                          situated



                                        JURY DEMAND

   Named Plaintiff requests a trial by a jury of eight (8) persons.

                                          /s/ Matthew J.P. Coffman
                                          Matthew J.P. Coffman




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